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8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       Super Michelada Corporation, a            Act; Unruh Civil Rights Act
14
       California Corporation
15
                 Defendants.
16
17
           Plaintiff Scott Johnson complains of Super Michelada Corporation, a
18
     California Corporation; and alleges as follows:
19
20
21     PARTIES:
22     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
23   level C-5 quadriplegic. He cannot walk and also has significant manual
24   dexterity impairments. He uses a wheelchair for mobility and has a specially
25   equipped van.
26     2. Defendant Super Michelada Corporation owned Tequilas Taqueria
27   located at or about 1052 Leigh Ave, San Jose, California, in November 2020.
28     3. Defendant Super Michelada Corporation owns Tequilas Taqueria


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1    (“Restaurant”) located at or about 1052 Leigh Ave, San Jose, California,
2    currently.
3      4. Plaintiff does not know the true names of Defendants, their business
4    capacities, their ownership connection to the property and business, or their
5    relative responsibilities in causing the access violations herein complained of,
6    and alleges a joint venture and common enterprise by all such Defendants.
7    Plaintiff is informed and believes that each of the Defendants herein is
8    responsible in some capacity for the events herein alleged, or is a necessary
9    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
10   the true names, capacities, connections, and responsibilities of the Defendants
11   are ascertained.
12
13     JURISDICTION & VENUE:
14     5. The Court has subject matter jurisdiction over the action pursuant to 28
15   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
17     6. Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising from the same nucleus of operative facts and arising out of
19   the same transactions, is also brought under California’s Unruh Civil Rights
20   Act, which act expressly incorporates the Americans with Disabilities Act.
21     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
22   founded on the fact that the real property which is the subject of this action is
23   located in this district and that Plaintiff's cause of action arose in this district.
24
25     FACTUAL ALLEGATIONS:
26     8. Plaintiff went to the Restaurant in November 2020 with the intention
27   to avail himself of its goods or services motivated in part to determine if the
28   defendants comply with the disability access laws. Not only did Plaintiff


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1    personally encounter the unlawful barriers in November 2020, he wanted to
2    return and patronize the business two more times subsequent to his original
3    visit but was specifically deterred due to his actual personal knowledge of the
4    barriers gleaned from his encounter with them.
5      9. The Restaurant is a facility open to the public, a place of public
6    accommodation, and a business establishment.
7      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
8    to provide wheelchair accessible parking in conformance with the ADA
9    Standards as it relates to wheelchair users like the plaintiff.
10     11. The Restaurant provides parking to its customers but fails to provide
11   wheelchair accessible parking.
12     12. A few problems that plaintiff encountered is that one of the parking
13   stalls marked and reserved for persons with disabilities had a dining tent on it
14   and there were obstructions in the access aisle as well. Additionally, there were
15   no van-accessible parking spaces.
16     13. Plaintiff believes that there are other features of the parking that likely
17   fail to comply with the ADA Standards and seeks to have fully compliant
18   parking available for wheelchair users.
19     14. On information and belief the defendants currently fail to provide
20   wheelchair accessible parking.
21     15. Additionally, on the date of the plaintiff’s visit, the defendants failed to
22   provide wheelchair accessible dining surfaces in conformance with the ADA
23   Standards as it relates to wheelchair users like the plaintiff.
24     16. The Restaurant provides dining surfaces to its customers but fails to
25   provide wheelchair accessible dining surfaces.
26     17. One problem that plaintiff encountered is the lack of sufficient toe
27   clearance under the outside dining surfaces for wheelchair users.
28     18. Plaintiff believes that there are other features of the dining surfaces that


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1    likely fail to comply with the ADA Standards and seeks to have fully compliant
2    dining surfaces available for wheelchair users.
3      19. On information and belief the defendants currently fail to provide
4    wheelchair accessible dining surfaces.
5      20. These barriers relate to and impact the plaintiff’s disability. Plaintiff
6    personally encountered these barriers.
7      21. As a wheelchair user, the plaintiff benefits from and is entitled to use
8    wheelchair accessible facilities. By failing to provide accessible facilities, the
9    defendants denied the plaintiff full and equal access.
10     22. The failure to provide accessible facilities created difficulty and
11   discomfort for the Plaintiff.
12     23. The defendants have failed to maintain in working and useable
13   conditions those features required to provide ready access to persons with
14   disabilities.
15     24. The barriers identified above are easily removed without much
16   difficulty or expense. They are the types of barriers identified by the
17   Department of Justice as presumably readily achievable to remove and, in fact,
18   these barriers are readily achievable to remove. Moreover, there are numerous
19   alternative accommodations that could be made to provide a greater level of
20   access if complete removal were not achievable.
21     25. Plaintiff will return to the Restaurant to avail himself of its goods or
22   services and to determine compliance with the disability access laws once it is
23   represented to him that the Restaurant and its facilities are accessible. Plaintiff
24   is currently deterred from doing so because of his knowledge of the existing
25   barriers and his uncertainty about the existence of yet other barriers on the
26   site. If the barriers are not removed, the plaintiff will face unlawful and
27   discriminatory barriers again.
28     26. Given the obvious and blatant nature of the barriers and violations


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1    alleged herein, the plaintiff alleges, on information and belief, that there are
2    other violations and barriers on the site that relate to his disability. Plaintiff will
3    amend the complaint, to provide proper notice regarding the scope of this
4    lawsuit, once he conducts a site inspection. However, please be on notice that
5    the plaintiff seeks to have all barriers related to his disability remedied. See
6    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
7    encounters one barrier at a site, he can sue to have all barriers that relate to his
8    disability removed regardless of whether he personally encountered them).
9
10   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
11   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
12   Defendants.) (42 U.S.C. section 12101, et seq.)
13     27. Plaintiff re-pleads and incorporates by reference, as if fully set forth
14   again herein, the allegations contained in all prior paragraphs of this
15   complaint.
16     28. Under the ADA, it is an act of discrimination to fail to ensure that the
17   privileges, advantages, accommodations, facilities, goods and services of any
18   place of public accommodation is offered on a full and equal basis by anyone
19   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
20   § 12182(a). Discrimination is defined, inter alia, as follows:
21             a. A failure to make reasonable modifications in policies, practices,
22                or procedures, when such modifications are necessary to afford
23                goods,     services,     facilities,   privileges,    advantages,      or
24                accommodations to individuals with disabilities, unless the
25                accommodation would work a fundamental alteration of those
26                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
27             b. A failure to remove architectural barriers where such removal is
28                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are


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1                 defined by reference to the ADA Standards.
2             c. A failure to make alterations in such a manner that, to the
3                 maximum extent feasible, the altered portions of the facility are
4                 readily accessible to and usable by individuals with disabilities,
5                 including individuals who use wheelchairs or to ensure that, to the
6                 maximum extent feasible, the path of travel to the altered area and
7                 the bathrooms, telephones, and drinking fountains serving the
8                 altered area, are readily accessible to and usable by individuals
9                 with disabilities. 42 U.S.C. § 12183(a)(2).
10     29. When a business provides parking for its customers, it must provide
11   accessible parking.
12     30. Here, accessible parking has not been provided in conformance with the
13   ADA Standards.
14     31. When a business provides facilities such as dining surfaces, it must
15   provide accessible dining surfaces.
16     32. Here, accessible dining surfaces have not been provided in
17   conformance with the ADA Standards.
18     33. The Safe Harbor provisions of the 2010 Standards are not applicable
19   here because the conditions challenged in this lawsuit do not comply with the
20   1991 Standards.
21     34. A public accommodation must maintain in operable working condition
22   those features of its facilities and equipment that are required to be readily
23   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
24     35. Here, the failure to ensure that the accessible facilities were available
25   and ready to be used by the plaintiff is a violation of the law.
26
27   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
28   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.


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1    Code § 51-53.)
2       36. Plaintiff repleads and incorporates by reference, as if fully set forth
3    again herein, the allegations contained in all prior paragraphs of this
4    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
5    that persons with disabilities are entitled to full and equal accommodations,
6    advantages, facilities, privileges, or services in all business establishment of
7    every kind whatsoever within the jurisdiction of the State of California. Cal.
8    Civ. Code §51(b).
9       37. The Unruh Act provides that a violation of the ADA is a violation of the
10   Unruh Act. Cal. Civ. Code, § 51(f).
11      38. Defendants’ acts and omissions, as herein alleged, have violated the
12   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
13   rights to full and equal use of the accommodations, advantages, facilities,
14   privileges, or services offered.
15      39. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
16   discomfort or embarrassment for the plaintiff, the defendants are also each
17   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
18   (c).)
19      40. Although the plaintiff encountered frustration and difficulty by facing
20   discriminatory barriers, even manifesting itself with minor and fleeting
21   physical symptoms, the plaintiff does not value this very modest physical
22   personal injury greater than the amount of the statutory damages.
23
24             PRAYER:
25             Wherefore, Plaintiff prays that this Court award damages and provide
26   relief as follows:
27           1. For injunctive relief, compelling Defendants to comply with the
28   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the


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1    plaintiff is not invoking section 55 of the California Civil Code and is not
2    seeking injunctive relief under the Disabled Persons Act at all.
3        2. Damages under the Unruh Civil Rights Act, which provides for actual
4    damages and a statutory minimum of $4,000 for each offense.
5        3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
6    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
7
     Dated: March 5, 2021             CENTER FOR DISABILITY ACCESS
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9
10                                    By: _______________________
11                                           Amanda Seabock, Esq.
                                             Attorney for plaintiff
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